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                         EXHIBIT 5
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National Institute of Standards and Technology
100 Bureau Dr., Room A1134
Gaithersburg, MD 20899

May 12, 2025

Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138

Dr. Garber:

        The purpose of this letter is to notify you that the U.S. Department of Commerce (the
“Department”) will cease funding for Award Number 70NANB24H116, “Interactive interface for
machine learning-guided protein library design”, through the National Institute of Standards and
Technology (“NIST”), pursuant to Section 200.340 of the Uniform Administrative Requirements,
Cost Principles, and Audit Requirements for Federal Awards (2 C.F.R. Part 200), which govern
this award of Federal financial assistance. The applicable version of 2 C.F.R § 200.340(a)(4)
permits termination “[b]y the Federal agency or pass-through entity pursuant to the terms and
conditions of the Federal award, including, to the extent authorized by law, if an award no longer
effectuates the program goals or agency priorities.”

        As part of efforts to streamline and reduce the cost and size of the Federal Government, the
Department is reprioritizing funding and staff to support only those activities directly related to its
current programmatic goals and mission priorities. The Department of Commerce is obligated to
carefully steward grant awards to ensure taxpayer dollars are used in ways that benefit the
American people and improve their quality of life in an efficient manner. Commerce is responsible
for ensuring that its limited resources are appropriately allocated. Commerce policy is that grant
dollars should support institutions that foster safe, equal, and healthy working and learning
conditions conducive to high-quality research and free inquiry. This includes protecting the safety
and rights of Jewish students, among others. Commerce policy is also that grant dollars should
only support institutions that comply with these principles. Supporting research in an environment
that has a lack of concern for the safety and wellbeing of students is plainly inconsistent with
Commerce’s priorities and raison d’etre of funding and championing the very best American
research and educational institutions. After careful review of this award, the Department has

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determined that your project does not satisfy this criteria and is inconsistent with program goals or
agency priorities because your university is insufficiently protecting the safety and rights of Jewish
students, among others.1 In addition, as part of this careful review, the Department has determined
that this specific award is inefficient from a cost perspective when balanced against programmatic
goals.

       To this end, NIST Award Number 70NANB24H116 is terminated effective May 12, 2025.
Should you or other employees of your institution decide to continue project activities beyond May
12, 2025, you, your employees and your institution do so at your own risk and will not be
reimbursed for any project costs incurred after that date. You will be notified in writing concerning
close-out instructions for this award.

Administrative Appeal (If Applicable)

       If applicable, you may object and provide information and documentation challenging this
termination.

       You must submit a request for such review to Secretary Howard Lutnick no later than 30
days after this letter is received, except that if you show good cause why an extension of time
should be granted, Secretary Lutnick may grant an extension of time.

       The request for review must include a copy of this decision, must identify the issue(s) in
dispute, and must contain a full statement of your position with respect to such issue(s) and the
pertinent facts and reasons in support of your position. In addition to the required written statement,
you shall provide copies of any documents supporting your claim.

Sincerely,




Craig S. Burkhardt
Deputy Under Secretary of Commerce
 for Standards and Technology
Deputy Director and Acting Director of the
 National Institute of Standards and Technology




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    https://www.harvard.edu/wp-content/uploads/2025/04/FINAL-Harvard-ASAIB-Report-4.29.25.pdf

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